Case 2:15-cv-10008-DPH-MJH ECF No. 16 filed 11/09/15         PageID.174    Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


DANNY BALTIERRA,

      Plaintiff,
                                                       Case No. 15-10008
V.
                                                       Honorable Denise Page Hood
ORLANS ASSOCIATES PC,

      Defendant.
                                                   /


          ORDER DENYING MOTION FOR RECONSIDERATION

      This matter is before the Court on Defendant’s Motion for Reconsideration

brought under E.D. Mich. LR 7.1 filed October 21, 2015. On October 7, 2015, the

Court entered an Order denying Defendant’s Motion to Dismiss or to Decline

Supplemental Jurisdiction. (Doc. No. 13) For the reasons set forth below, the Court

denies the motion.

      The Local Rules of the Eastern District of Michigan provide that any motion

for reconsideration must be filed within 14 days after entry of the judgment or order.

E.D. Mich. LR 7.1(h)(1). No response to the motion and no oral argument thereon

shall be allowed unless the Court orders otherwise. E.D. Mich. LR 7.1(h)(2).

Defendant’s motion is timely filed. The Local Rule further states:
Case 2:15-cv-10008-DPH-MJH ECF No. 16 filed 11/09/15         PageID.175     Page 2 of 3




             (3) Grounds. Generally, and without restricting the
             court’s discretion, the court will not grant motions for
             rehearing or reconsideration that merely present the same
             issues ruled upon by the court, either expressly or by
             reasonable implication. The movant must not only
             demonstrate a palpable defect by which the court and the
             parties and other persons entitled to be heard on the motion
             have been misled but also show that correcting the defect
             will result in a different disposition of the case.

E.D. Mich. LR 7.1(h)(3). A motion for reconsideration is not a vehicle to re-hash old

arguments, or to proffer new arguments or evidence that the movant could have

brought up earlier. Sault Ste. Marie Tribe v. Engler, 146 F.3d 367, 374 (6th Cir.

1998)(motions under Fed.R.Civ.P. 59(e) “are aimed at re consideration, not initial

consideration”)(citing FDIC v. World Universal Inc., 978 F.2d 10, 16 (1st Cir.1992)).

      Defendant in its Motion for Reconsideration raises a new argument not initially

raised in its Motion to Dismiss–that Plaintiff failed to met the statutory requirements

under the Michigan Collection Practices Act. In its initial Motion to Dismiss,

Defendant raised the issue of failure to allege actual damages and, alternatively, for

the Court to decline supplemental jurisdiction. Defendant also submitted an affidavit

to support its Motion for Reconsideration which was not submitted in its initial motion

and is not a proper submission under a Rule 12(b)(6) motion where only the pleadings

are considered.

      Accordingly,


                                          2
Case 2:15-cv-10008-DPH-MJH ECF No. 16 filed 11/09/15            PageID.176     Page 3 of 3




      IT IS ORDERED that Defendant’s Motion for Reconsideration under E.D.

Mich. LR 7.1 (Doc. No. 14) is DENIED.


                           S/Denise Page Hood
                           Denise Page Hood
                           United States District Judge

Dated: November 9, 2015

I hereby certify that a copy of the foregoing document was served upon counsel of record on
November 9, 2015, by electronic and/or ordinary mail.

                           S/LaShawn R. Saulsberry
                           Case Manager




                                             3
